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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 PATRICK BASS and JOCELYN BASS                      )
                                                    )
                        Plaintiffs,                 )
                                                    )
 v.                                                 )
                                                        CIVIL ACTION NO.
                                                    )
                                                        1:20-cv-00007-TFM-M
 M/V STAR ISFJORD, GRIEG STAR                       )
 SHIPPING and G2 OCEAN,                             )
                                                    )
                        Defendants.                 )

                                      NOTICE OF SERVICE

        COME NOW Defendants Grieg Shipping II AS and G2 Ocean AS, by and through the

 undersigned counsel, and hereby notify the Court that all counsel of record was served with the

 following via electronic mail on this the 31st day of July, 2023:

        1.      Amended Notice of Video-Taped Deposition for Trial with duces tecum of Dr.

 Terry Taylor set August 3, 2023.


                                                        Respectfully submitted,


                                                        /s/ John P. Kavanagh, Jr.
                                                        John P. Kavanagh, Jr. (KAVAJ1011)
                                                        L. Robert Shreve (LSHRE3179)
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                                                        Attorney for Defendants
                                                        Grieg Shipping II AS and G2 Ocean AS
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I have served a copy of the foregoing document by electronically filing
 same with the Clerk of Court using the CM/ECF system, which will send notifications of such
 filing to the following: (or, if the party served does not participate in Notice of Electronic Filing,
 by U.S. First Class Mail, hand delivery, fax or email), on this the 31st day of July, 2023.

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                                                         /s/ John P. Kavanagh, Jr.
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